           Case 1:08-cr-00210-AWI Document 21 Filed 11/14/08 Page 1 of 2


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                IN THE UNITED STATES DISTRICT COURT FOR THE
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                       EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,          ) NO. 1:08-cr-00210-AWI
                                        )
12                                      )
                                        )
13                  Plaintiff,          )
                                        )
14        v.                            ) ORDER
                                        )
15                                      )
     JORGE ESPINOZA-CASTRO, and         )
16   IVAN ELIZALDE-OSORIO,              )
                                        )
17                  Defendants.         )
     ___________________________________)
18
19        Having read and considered the parties’ stipulation to
20   continue the current status conference/monitions hearing date of
21   November 17, 2008, at 9:00 a.m. to December 1, 2008, at 9:00 a.m.
22   in this matter,
23        IT IS THE ORDER OF THE COURT THAT, the current status
24   conference/monitions hearing date is hereby continued to December
25   1, 2008, at 9:00 a.m.
26        IT IS FURTHER ORDERED THAT, time be excluded to and through
27   December 1, 2008, in order to (1) permit the government and
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              Case 1:08-cr-00210-AWI Document 21 Filed 11/14/08 Page 2 of 2


1    defense counsel to engage in further plea disposition
2    negotiations; and (2) for the defense to adequately prepare for
3    the hearing in this case following the government’s plea offer,
4    in that the ends of justice served by a continuance “outweigh the
5    best interests of the public and the defendant in a speedy
6    trial.”     See 18 U.S.C. § 3161(h)(8).
7    IT IS SO ORDERED.
8    Dated:    November 14, 2008              /s/ Anthony W. Ishii
     9h0d30                          CHIEF UNITED STATES DISTRICT JUDGE
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